Case 0:16-cv-62325-FAM Document 33 Entered on FLSD Docket 02/27/2017 Page 1 of 1



                              UNITED STATES DISTRICT COURT FOR THE
                                  SOUTHERN DISTRICT OF FLORIDA
                                CaseNumber:16-62325-CIW M ORENO

  KERRY LYNN W ISDOM ,

                 Plaintiff,


  JONES INSURANCE GROUP,INC.;JEFFREY C.
  JONES,

                 Defendants.
                                               /
                                FINAL O RDER O F DISM ISSAL AND ORDER
                               DENYING A LL PENDING M OTIO NS AS M OO T

          TH IS CA U SE cam e before the Courtupon Joint M otion for Approval of Settlem ent of

  FairLaborStandardsActClaim and Dismissalwith Prejudice(D.E.29),filed on Februarv 23.
  2017.

          THE COU RT hasconsidered the notice and the pertinentportionsofthe record,and is

  otherwisefully advised inthepremises.ltis

          A DJUD G ED that JointM otion for Approvalof Settlem entofFair Labor Standards A ct

  Claim and DismissalwithPrejudiceisGRANTED andthesettlementisapproved inaccordance
  withLynn'
          sFoodStores,Inc.v.US.Dep 'tofLabor,679F.2d 1350(11thCir.1982).ltisalso
          ADJUDGED thatthisCauseisDISM ISSED with prejudice,with eachparty bearingits
  ownfeesandcosts.Fed.R.Civ.P.41(a)(1)(A)(ii).Further,al1pendingmotionsareDENIED as

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                        renewERED
                              ifappir
                                    opriate.
                                    n Cham bers atM iam i,Florida,this
                                                                       ( AofFebrual.y 2017.
                                                                'A *



                                               FEDERIC   . ORENO
                                                      STATES DISTRICT JUDGE
  Copiesfurnished to:
  Counselofrecord
